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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                                     )
ASHFORD INC. and                                     )
ASHFORD HOSPITALITY ADVISORS LLC,                    )
                                                     )
     Plaintiffs,                                     )
                                                     )
v.                                                   )
                                                     )
SESSA CAPITAL (MASTER), L.P., SESSA CAPITAL GP, LLC,
                                                     )
SESSA CAPITAL IM, L.P., SESSA CAPITAL IM GP, LLC,
                                                     )
JOHN E. PETRY, PHILIP B. LIVINGSTON, LAWRENCE A.
                                                     )
CUNNINGHAM, DANIEL B. SILVERS and CHRIS D.
                                                     ) NO. 3:16-cv-01566-N
WHEELER,
                                                     )
     Defendants;                                     )


        JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
                      PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

               IT IS HEREBY STIPULATED AND AGREED, by and among the parties,

through their undersigned counsel, that:

               1.     Plaintiffs Ashford, Inc. and Ashford Hospitality Advisors, LLC hereby

voluntarily dismiss all claims against Defendants with prejudice pursuant to Fed. R. Civ. Proc.

41(a)(1)(A)(ii);

               2.     Each party will bear its own attorneys’ fees, costs and other expenses.


DATED:         February 20, 2017.




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DAL:953548.1
